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                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF COLORADO
                     The Honorable Michael E. Romero


  In re:
                                            Case No. 14-22739 MER
  LIISA BETH WILSON
                                            Chapter 13
      Debtor.

                       NOTICE OF PRELIMINARY HEARING

       PLEASE TAKE NOTICE that the following matter has been set for a
 preliminary hearing before the Honorable Michael E. Romero to be held on a trailing
 docket on Tuesday, February 26, 2019, at 1:30 p.m. in Courtroom C, U.S.
 Custom House, 721 19th Street, Denver, Colorado. Your matter has been set for a
 non-evidentiary hearing of not more than fifteen (15) minutes. If the matter to be
 heard will exceed 15 minutes in length, or if it is necessary to receive evidence to
 resolve the matter, the scheduled hearing will be used as a scheduling conference
 and the matter will be reset to a later date.

       Parties wishing to appear by telephone shall call 1-888-684-8852 at the
 scheduled time of the hearing. The access code for the conference call is 9288499.
 Please stay on the line until the court operator takes the roll call and the hearing
 begins.

       The matter set is: Chapter 13 Trustee's Motion to Dismiss and Debtor's
 response

        NOTICE IS FURTHER GIVEN that in the event the matter is resolved, the
 hearing shall be vacated only upon (1) receipt of a stipulation or agreement of the
 parties no later than the day before the scheduled hearing, or (2) appearance by at
 least one of the parties at the hearing, in person or via telephone, who shall read
 the agreement into the record.

 DATED February 7, 2019                 BY ORDER OF THE COURT:

                                        KENNETH S. GARDNER, CLERK

                                        By: Deborah L. Beatty, Deputy Clerk
                                            United States Bankruptcy Court
                                            U.S. Custom House
                                            721 19th Street
                                            Denver, Colorado 80202-2508
